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               M
    Matheny Law, PLLC
                                                   John David Matheny II
                                               8936 Northpointe Executive Park
                                                 Dr, Huntersville, NC 28078
                                                      (984) 269-3829
                                                 mathenylawpllc@gmail.com
_____________________________________________________________________________________


                                       November 15, 2023
VIA ELECTRONIC MAIL
The Hartford
Casey.grusso@thehartford.com


             RE:       In Re: Claim Representation for Reformed Theological Seminary
                       Date of Reported Loss:      06/16/2023
                       Claim No.:                  Y3NF29398
                       Policy No.:                 43UUNDF2645

To whom it may concern:

       I am writing on behalf of my client, Reformed Theological Seminary, with regard to the
above-referenced claim number. As the attorney of record, I would like to convey our
appreciation for your prompt attention to this matter.

       To facilitate effective communication, we request that you provide us with the contact
information of the designated person or department responsible for handling claim-related
matters and updates.

        Attached is a comprehensive Damage Package and Letter of Representation detailing the
claim's merits. I have also included a copy of the complaint and summons that will be filed in the
event that we can not resolve this outside of litigation.

        Regarding the claim itself, it is in everyone's best interest to resolve this matter as
efficiently and reasonably as possible. I would like to propose a preliminary settlement offer. Our
demand amount to settle this claim in pre-litigation is $416.237.02. We believe that this amount
reflects a fair and equitable resolution that benefits all parties involved.

         We are open to negotiation and committed to reaching a reasonable settlement in our
client's best interest.




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    Matheny Law, PLLC
                                                  John David Matheny II
                                              8936 Northpointe Executive Park
                                                Dr, Huntersville, NC 28078
                                                     (984) 269-3829
                                                mathenylawpllc@gmail.com
_____________________________________________________________________________________




       In order to effectively represent our client's interests, we require access to a complete
copy of the insurance policy. I kindly request that you provide this policy in PDF format,
ensuring that it includes the Declaration page.

Thank you for your cooperation and prompt attention to these matters.


Sincerely,




J. David Matheny II
984-269-3829
8936 Northpointe Executive Park Dr,
Suite 240-260 Huntersville,
NC 28078




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